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COUNSEL FOR HIGHLAND CLO FUNDING LTD.

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                                 §        Case No. 18-30264-SGJ-11
                                                       §        Case No. 18-30265-SGJ-11
ACIS CAPITAL MANAGEMENT, L.P.,                         §
ACIS CAPITAL MANAGEMENT GP,                            §        (Jointly Administered Under
LLC,                                                   §        Case No. 18-30264-SGJ-11)
                                                       §
        DEBTORS                                        §        Chapter 11
                                                       §

HIGHLAND CAPITAL MANAGEMENT,                           §
L.P. AND HIGHLAND CLO FUNDING                          §
LTD.,                                                  §
                                                       §        Adversary No. 18-03078-sgj
        PLAINTIFFS                                     §
                                                       §
v.                                                     §
                                                       §
ROBIN PHELAN, CHAPTER 11                               §
TRUSTEE                                                §
                                                       §
        DEFENDANT                                      §
                                                       §
                                                       §
ROBIN PHELAN, CHAPTER 11                               §
TRUSTEE,                                               §
                                                       §
        THIRD PARTY PLAINTIFF,                         §
                                                       §
v.                                                     §
                                                       §
HIGHLAND HCF ADVISOR, LTD. AND                         §
HIGHLAND CLO MANAGEMENT, LTD.                          §
                                                       §
        THIRD PARTY DEFENDANTS.                        §
                                                       §

                HIGHLAND CLO FUNDING, LTD.’S MOTION TO DISMISS

HCLOF’S MOTION TO DISMISS
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       1.      Highland CLO Funding, Ltd. (“HCLOF”) hereby respectfully requests entry of

an order dismissing with prejudice the Counterclaims raised in Defendants’ Answer, Affirmative

Defenses, Counterclaims, and Third Party Claims [ECF No. 84]. In support thereof, HCLOF

relies upon the accompanying Brief in Support of its Motion to Dismiss, filed in accordance with

Rule 7007-1 of the Local Bankruptcy Rules of the United States Bankruptcy Court for the

Northern District of Texas, and the facts, exhibits, and other materials referred to therein.

       2.      Notice of this Motion has been provided to the Trustee. HCLOF submits that no

other or further notice need be provided.




HCLOF’S MOTION TO DISMISS
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       WHEREFORE, HCLOF respectfully requests that the Court (a) enter the Order

substantially in the form annexed hereto as Exhibit A, granting the relief requested herein, and

(b) grant to HCLOF such other and further relief as the Court may deem proper.

Dated: December 21, 2018

                                            Respectfully submitted,


                                            KING & SPALDING LLP

                                            /s/ Mark M. Maloney
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                                            Counsel for Highland CLO Funding, Ltd.

                               CERTIFICATE OF SERVICE

   I certify that a true and correct copy of the foregoing document was served electronically by

the Court’s ECF system on December 21, 2018.

                                                /s/ Rebecca Matsumura
                                                 Rebecca Matsumura
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                                  EXHIBIT A

                                 Proposed Order
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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


IN RE:                                            §         Case No. 18-30264-SGJ-11
                                                  §         Case No. 18-30265-SGJ-11
ACIS CAPITAL MANAGEMENT, L.P.,                    §
ACIS CAPITAL MANAGEMENT GP,                       §         (Jointly Administered Under Case
LLC,                                              §         No. 18-30264-SGJ-11)
                                                  §
              DEBTORS                             §         Chapter 11
                                                  §

                    [PROPOSED] ORDER GRANTING HIGHLAND
                     CLO FUNDING LTD.’S MOTION TO DISMISS

       The Motion to Dismiss [Docket No. ___] filed by Highland CLO Funding Ltd.

(“HCLOF”) is GRANTED.         The Counterclaims raised in Defendants’ Answer, Affirmative

Defenses, Counterclaims, and Third Party Claims [ECF No. 84] are dismissed with prejudice.

                                          *   *       *
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Dated: December 21, 2018

                                            Respectfully submitted,


                                            KING & SPALDING LLP

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                                            Counsel for Highland CLO Funding, Ltd.

                               CERTIFICATE OF SERVICE

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the Court’s ECF system on December 21, 2018.

                                                /s/ Rebecca Matsumura
                                                 Rebecca Matsumura
